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         EXHIBIT 11
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   akerman                                                                             Thomas G. Pasternak

                                                                                               Akerman LLP
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                                                 May 5, 2023


   VIA E-MAIL

   David Johnson
   Butler Snow LLP
   The Pinnacle at Symphony Place
   150 3rd Avenue South, Suite 1600
   Nashville, TN 37201

   Re:     Weather King v. American Barn

   Dear David:

          I am writing to follow up to our conversation on May 1 and the various letters that have
  been circulated in the past few weeks. Upon considering the issues discussed, and after consulting
  with my clients, before going to the great effort of supplementing ten voluminous sets of discovery
  requests, so that we don't have to do it multiple times, and because the clients are still checking on
  various items, I am writing to tell you what we will agree to do and what we will not agree to do,
  before we supplement. Upon review of your April 19 letter and in the context of our conversations,
  we set forth our planned course of action as stated below. We will supplement the responses as
  soon as we are able to confirm what information and documentation is available and can produce
  it to you.

            With regards to the phone records requests and our objections that fall across requests to
   all of the defendants, if you have specific numbers that you would like records for, as opposed to
   all phone records of all defendants, we are happy to consider seeking those phone records as a way
   of limiting those requests.

           These items are outlined in accordance with your letter of April 19.

                                    INTERROGATORIES TO MAUPIN

           Interrogatory No. I

        Jesse Maupin, Barry Harrell, and Wade Etherton were in involved in the formation of
  AB CO Rentals



  akerman.com

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          Interrogatories Nos. 3-5

            Maupin will supplement his responses to these interrogatories. With regard to Plaintiff s
   assertions that ABCO’s responses are insufficient, the only other information that we can provide
   is that the conversations were verbal and that they concerned the circumstances of the formation
   of ABCO.

          Interrogatory No. 13

          Maupin stands by his objections.

          Interrogatory No. 14

          We are checking on this with all of the defendants after the clarification and will
   supplement their responses if necessary.

          Interrogatory No. 15

          We are checking on this in light of your proposed compromise and will supplement as is
   necessary after confirming whether there is any responsive information to this interrogatory.

                             REQUESTS FOR PRODUCTION TO MAUPIN

          Requests Nos. 13 & 15

          Maupin confirmed that he has no responsive documents. We are not required to give you
   an explanation of the facts as they are.

          Request No. 27

          Maupin stands on his objections.

          Request No. 33

          Maupin stands on his objections.

          Request No. 38

          We have confirmed that no responsive documents exist.

                                   INTERROGATORIES TO ABCO

          Interrogatory Nos. 3-4

          ABCO will supplement its responses to those interrogatories.




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          Interrogatory Nos. 6, 8, 10 & 12

          ABCO has provided as much information as it has based on a reasonable search of its
   records, as required by the discovery rules.

          Interrogatory No. 9

          See response to Interrogatory Nos. 6-8 and 12.

          Interrogatory No. 11

          ABCO stands by its response.

          Interrogatory No. 15

          ABCO stands by its response.

                           REQUESTS FOR PRODUCTION TO ABCO

          Request No. 30

          As we discussed ABCO will supplement its response with a spreadsheet that provides this
   information.

          Request No. 35

           ABCO stands by its objections.

                                 INTERROGATORIES TO HARRELL

          Interrogatory Nos. 3-7

          Harrell will supplement his responses to these interrogatories.

          Interrogatory No. 11

          Harrell stands by his objections.

          Interrogatory No. 12

          We will check on this and will supplement if necessary.

          Interrogatory No. 13

          We are checking on this and will supplement if necessary.




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                        REQUESTS FOR PRODUCTION TO HARRELL

          Request No. 26

          Harrell stands by his objections.

          Request No. 30

          We have confirmed that Harrell has no responsive documents to this request.

          Request No. 32

         Harrell stands by his objections.

                                 INTERROGATORIES TO HARROD

          Interrogatory Nos. 3-5

         Harrod stands by his responses.

          Interrogatory No. 10

         Harrod stands by his objections.

          Interrogatory No. 11

           We are checking on whether further information can be provided in response to this
   interrogatory.

                         REQUESTS FOR PRODUCTION TO HARROD

         Request Nos. 6-14. 24

         Harrod confirms his responses.

                   INTERROGATORIES TO FEAGIN, GILLESPIE, BROWN,
                       HERSHBERGER. G. LASSEN AND A. LASSEN

          1: Arizona Barn is the correct entity.

         2: Ms. Gillespie stands by her response. One can't compel that which doesn't exist.

         3: Gillespie, Hershberger, and Feagin stand by their responses.

         4: Hershberger stands by his response.




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          5: Defendants stand by their objections.

          6: Defendants stand by their objections.

          7: We are checking on this information in light of your proposed compromise and will
   supplement as is necessary.

      REQUESTS FOR PRODUCTION TO HARROD, FEAGIN, GILLESPIE. BROWN,
                  HERSHBERGER, G. LASSEN AND A. LASSEN

          Hershberger Request No. 6

          We are checking.

          Hershberger Request No. 7

          We are checking.

          Hershberger Request No. 14

          Hershberger stands by his objections.

          Feagin Request No. 24

          Feagin stands by his objections.

          Feagin Request No. 27

          Feagin stands by his objections.

          Request No. 28 (Lassen Defendants and Harrod)

          We have confirmed that no responsive documents exist in response to these requests.

          Request No. 29 (Harrod. Gillespie. B. Lassen)

          Their responses are confirmed.

          Request No. 30

          Defendants stand by their objections.

           On the other issues raised in your letter, the only responsive documents that were agreed
   to be produced in my April 14 letter were document responses to Document Request No. 29 to
   Feagin if they existed, and it has been confirmed that none exist.




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            As far as I know all responsive documents have been produced as delineated in Defendants'
   initial discovery responses.

          Finally, we will endeavor to locate and produce the Brown spreadsheet that you requested.

                                                Very truly yours,


                                                Thomas G. Pasternak




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